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 7
 8                        UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10                                   WESTERN DIVISION
11
12   LENDLEASE (US) CONSTRUCTION                Case No.
     INC.,
13                                              VERIFIED PETITION TO
                       Petitioner,              CONFIRM ARBITRATION
14                                              AWARD
           v.
15                                              (9 U.S.C. § 9)
     CHINA OCEANWIDE
16   HOLDINGS LIMITED,
17
                       Respondent
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                 VERIFIED PETITION TO CONFIRM ARBITRATION AWARD (9 U.S.C. § 9)
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 1         Petitioner Lendlease (US) Construction Inc. (“Lendlease”) petitions this Court
 2   for an order confirming the Arbitration Award dated November 24, 2020 (the
 3   “Award”), and entering judgment as specified therein in the amount of
 4   $40,348,987.22, plus interest on that amount from the time the award was entered
 5   through the date of the issuance of the judgment and continuing thereafter until fully
 6   paid as specified in the Award, together with costs and attorneys’ fees incurred to
 7   confirm the Award, against respondent China Oceanwide Holdings Limited
 8   (“Respondent Oceanwide”). A true and correct copy of the Award is attached hereto
 9   as Exhibit 1.
10         This is a summary proceeding pursuant to 9 U.S.C. § 13 under which very
11   limited issues are before this Court.
12                                      THE PARTIES
13         1.     Lendlease is a Florida corporation with its principal place of business
14   located at 200 Park Avenue, New York, New York. Lendlease is authorized to do
15   business in California.
16         2.     Respondent Oceanwide is a company organized and existing under the
17   laws of Bermuda with a registered office at 64/F Bank of China Tower, 1 Garden
18   Road, Hong Kong.
19                         JURISDICTIONAL ALLEGATIONS
20         3.     There is complete diversity of citizenship between the parties, and more
21   than $75,000, exclusive of interest and costs, is at stake in this controversy, and this
22   Court has jurisdiction of this matter under 28 U.S.C. § 1332(a)(1).
23         4.     The Federal Arbitration Act, 9 U.S.C. § 9, applies to this Petition and
24   this Court has personal jurisdiction over Respondent Oceanwide because Respondent
25   Oceanwide consented to jurisdiction in the United States District Court in the Central
26   District of California in the Parent Company Guarantee dated March 5, 2020 between
27   Lendlease and Respondent Oceanwide (the “PCG”). Respondent Oceanwide has
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                  VERIFIED PETITION TO CONFIRM ARBITRATION AWARD (9 U.S.C. § 9)
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 1   also done and transacted business in California, including participating in the
 2   Arbitration hearing, resulting in the Award.
 3            5.      Pursuant to 9 U.S.C. § 9, venue is proper in this judicial district because
 4   the PCG specified this judicial district as the proper venue for any motion concerning
 5   the Award.
 6        ARBITRATION AGREEMENT GOVERNING AND GIVING RISE TO
 7                          THIS DISPUTE
 8            6.      On March 5, 2020, Lendlease and Respondent Oceanwide entered into
 9   the PCG, under which Respondent Oceanwide guaranteed payment of $100,000,000
10   to Lendlease. Of this amount, $54,440,000 would be paid in three installments
11   pursuant to a schedule attached to the PCG between April and June 2020 (the
12   “Funding Schedule Payments”). A true and correct copy of the PCG is attached
13   hereto as Exhibit 2.
14            7.      Following the execution of the PCG, Respondent Oceanwide was
15   required to make the Funding Schedule Payments, each by a date certain. However,
16   in the Award, the Arbitrator determined Respondent Oceanwide did not make the
17   payments as required, thereby breaching of its obligations.1 Instead, it made three
18   partial payments that were late and not in full, and then failed to make any further
19   payments. In total, of the $54,440,000 due by June 15, 2020 under the Funding
20   Schedule, only a total of $16,000,000 in payments were made by Respondent
21   Oceanwide, and the balance of $38,440,000 remained outstanding.
22            8.      The PCG contemplated two separate arbitrations in the event of disputes
23   between the parties. First, in the event Oceanwide failed to make the Funding
24   Schedule Payments, the parties would participate in an expedited dispute resolution
25   proceeding administered by the American Arbitration Association pursuant to its Fast
26   Track Construction Industry Rules, under which “the sole issue to be decided by the
27
     1
28       Exhibit 1.
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                      VERIFIED PETITION TO CONFIRM ARBITRATION AWARD (9 U.S.C. § 9)
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 1   Arbitrator will be whether payment of the Funding Schedule Payments was made in
 2   accordance with the Guarantee.”        (Exhibit 2, ¶ 13(a)(i)(e)) (the “Fast Track
 3   Arbitration.”) Under this protocol, the Fast Track Arbitration was required to be
 4   complete within fourteen (14) days of filing. Second, in the event of a dispute
 5   regarding the amounts other than the Funding Schedule Payments guaranteed under
 6   the PCG, the parties would participate in a more comprehensive arbitration also
 7   administered by the American Arbitration Association (the “Separate OW-California
 8   Arbitration”). The Award before this Court concerns the first, most expedited track,
 9   and concerns only the issue of whether the required payments were made under the
10   PCG.
11                   PROCEDURAL HISTORY OF ARBITRATION
12          9.    On October 13, 2020, Lendlease commenced the arbitration by filing a
13   demand for arbitration with accompanying declarations (collectively, the
14   “Demand”).      Lendlease sought the immediate enforcement of Respondent
15   Oceanwide’s obligation to make the Funding Schedule Payments.
16          10.   The Arbitration was held before John Paige Carpenter of the American
17   Arbitration Association, pursuant to its Construction Industry Fast Track Arbitration
18   Rules, as modified by the terms of the PCG.
19          11.   On October 26, 2020, Respondent Oceanwide filed its Answer to
20   Claimant’s Demand for Arbitration of Breach of Guarantee (“Answer”). In that
21   pleading, Respondent Oceanwide stated, among other things, “[f]or the purposes of
22   this Arbitration, [Respondent Oceanwide] does not dispute the factual allegations
23   contained in Paragraphs 1 through 58 of Lendlease’s Demand.” (Answer at 4).
24   Accordingly, the prima facie elements of Lendlease’s Demand were undisputed and
25   supported by competent evidence.        However, through its answer, Respondent
26   Oceanwide sought to expand the jurisdiction of the Arbitrator beyond the streamlined
27   issue specifically mandated by the PCG to encompass two other issues: “first,
28   [Respondent Oceanwide] sought an accounting of the Funding Schedule Payments
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                  VERIFIED PETITION TO CONFIRM ARBITRATION AWARD (9 U.S.C. § 9)
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 1   to determine how much, on a subcontractor-by-subcontractor basis, remains due and
 2   owing. Second, Oceanwide argued that Lendlease “should be required to establish
 3   that it maintained a valid construction license at all times during the Project.”
 4   (Award, Ex. 1, 2:21-25, internal citations and marking omitted).
 5         12.    On October 28, 2020, Lendlease filed a motion to confirm the limited
 6   scope of the Arbitrator’s jurisdiction (“Lendlease Motion”). Lendlease argued that
 7   both of these issues went beyond the scope of the Arbitrator’s jurisdiction as defined
 8   in the arbitration demand. Regarding the licensing issue, Lendlease noted that
 9   because the PCG is a financial instrument and not a construction contract, a showing
10   of licensure is not required and was not a prima facie element of Lendlease’s claims
11   against Respondent Oceanwide. Respondent Oceanwide filed its opposition to that
12   motion on October 29, 2020, and Lendlease filed a reply in support of the motion on
13   October 30, 2020.
14         13.    The Arbitrator granted the Lendlease Motion on October 30, 2020,
15   holding that the scope of the Arbitration was limited to the sole issue of whether
16   Respondent Oceanwide had made the Funding Schedule Payments in accordance
17   with the PCG. The Arbitrator found “the issues raised by Oceanwide concerning
18   subcontractor payment and contractor licensing were construction-related issues and
19   outside the jurisdiction of the Arbitrator under the terms of the PCG, and therefore
20   not subject to this Arbitration.” (Award, Ex. 1, 3:3-6). The Arbitrator also found
21   that Respondent Oceanwide’s request for a finding on licensure was inappropriate
22   because:
23                “This case is not a construction case. Construction issues
24                including construction contract licensure (which Claimant
25                Lendlease demonstrates has been in place continuously
26                based on the Contractor's State License Board's License
27                Detail, attached as Exhibit A to the Supplemental
28                Declaration of Joe Wathen, see also Exhibit F, granting a
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                  VERIFIED PETITION TO CONFIRM ARBITRATION AWARD (9 U.S.C. § 9)
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 1                90-day extension to the 90-day period for replacing a
 2                qualifier from the CSLB dated 12/21/18 and Exhibit G
 3                letter from CSLB confirming Mr. Wathen passing the
 4                necessary exam dated 1/11/19), can be raised by nonparty
 5                Oceanwide California under the dispute process provided
 6                for in the Parent Company Guaranty and the Construction
 7                Contract where it is a party [i.e., in the Separate OW-
 8                California Arbitration].” (Award, Ex. 1, ¶ 4.)
 9          14.   Respondent Oceanwide then had the opportunity to submit evidence in
10   the arbitration, but declined to submit any additional evidence. (Award, Ex. 1, 7:7-
11   10).
12          15.   Based on the evidence submitted, the Arbitrator determined
13   “Oceanwide currently owes $38,440,000 under the terms of the Parent Company
14   Guarantee's Funding Schedule.” (Award, Ex. 1, 6:16-18.) On November 24, 2020,
15   the Arbitrator issued his final award, finding:
16                “The Arbitrator finds and concludes that Lendlease has
17                satisfied its burden of proof on each element on its claim
18                for Oceanwide's breach of the Parent Company Guarantee.
19                Specifically, Lendlease has demonstrated with sufficient
20                evidence, which Oceanwide does not dispute, that
21                Lendlease and Oceanwide entered into the Parent
22                Company Guarantee and that Lendlease has fully
23                performed all of the terms and conditions required on its
24                part to be performed under the Parent Company Guarantee.
25                Lendlease further proved that Oceanwide breached the
26                Parent Company Guarantee by failing to adhere to the
27                agreed upon Funding Schedule by: (1) failing to pay its $10
28                million April 15, 2020 Funding Schedule Payment on time;
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                  VERIFIED PETITION TO CONFIRM ARBITRATION AWARD (9 U.S.C. § 9)
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 1                (2) failing to pay its $20 million May 15, 2020 Funding
 2                Schedule Payment in full and on time; and (3) failing to
 3                pay its $24,440,000 million June 15, 2020 Funding
 4                Schedule Payment in full and on time. The exhibits to the
 5                Walsh Declaration further confirm that Lendlease provided
 6                notice to Oceanwide of its defaults under the Parent
 7                Company Guarantee, although the Parent Company
 8                Guarantee itself does not require such notice. And it is
 9                undisputed that as a direct and proximate result of
10                Oceanwide’s breach of the Parent Company Guarantee,
11                Lendlease is owed $38,440,000.” (Award, Ex. 1, 7:18-8:4).
12         16.    The Arbitrator also determined Lendlease was entitled to pre-judgment
13   and post-interest at the rate of 10% per annum, determining the amount of interest
14   that accrued through November 12, 2020 was $1,746,849.81, and that interest would
15   accrue thereafter at the rate of $10,351.51 per day until paid in full. (Award, Ex. 1,
16   8:14-15; 9:14-17).
17         17.    Having obtained complete relief in its favor, and pursuant to the PCG,
18   Lendlease petitioned the Arbitrator for its attorneys’ fees and costs pursuant to
19   Section 2(c) of the Parent Company Agreement. Respondent Oceanwide submitted
20   an opposition, and Lendlease submitted a reply. In issuing the final award, the
21   Arbitrator awarded Lendlease its attorney’s fees and costs incurred in the arbitration
22   in the amount of $141,412.16.
23         18.    The Arbitrator also determined that “[t]he administrative fees of the
24   American Arbitration Association totaling $12,844.00 and the compensation and
25   expenses of the arbitrator totaling $15,762.50 shall be borne by Respondent
26   Oceanwide,” and ordered Respondent Oceanwide to reimburse Lendlease the sum of
27   $20,725.25, which represents the portion of said fees and expenses in excess of the
28   apportioned costs previously incurred by Lendlease. (Award, 9:20-24).
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 1         19.    These amounts (the principal amount of $38,440,000; the interest
 2   through November 12, 2020 in the amount of $1,746,849.81; the attorney’s fees
 3   incurred in the arbitration in the amount of $141,412.16; and the administrative fees
 4   in the amount of $20,725.25) total $40,348,987.22. Interest continues to accrue at a
 5   rate of 10% until final payment, for a daily rate of $10,351.51.
 6         20.    The American Arbitration Association served all parties with a copy of
 7   the Final Award on November 24, 2020. A true and correct copy of the transmittal
 8   is attached hereto as Exhibit 3.
 9         21.    The Final Award is in all respects proper, and there are no legitimate
10   grounds for Respondent Oceanwide to contest the Final Award. Lendlease is thus
11   entitled to an order confirming the Final Award and entry of a judgment thereon.
12                                PRAYER FOR RELIEF
13         Lendlease respectfully requests that the Court:
14         A.     Enter an order confirming the Final Award in all respects, as authorized
15                by Section 9 of the Federal Arbitration Act;
16         B.     Enter a judgment against Respondent Oceanwide and in favor of
17                Lendlease that conforms to the Final Award, pursuant to 9 U.S.C. § 13,
18                including interest as provided in the Final Award through and including
19                the date the Final Award is fully and finally paid;
20         C.     Award Lendlease its costs, disbursements and attorneys’ fees incurred
21                in its enforcement of its rights under the PCG pursuant to Section 2(c)
22                of the PCG and California law; and
23   ///
24   ///
25   ///
26   ///
27   ///
28   ///
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 1         D.    Grant such other relief as the Court deems just and proper.
 2
     DATED: November 24, 2020                   PERKINS COIE LLP
 3
 4                                              By: /s/ Meredith A. Jones-McKeown
                                                   Meredith A. Jones-McKeown, Bar
 5                                                 No. 233301
                                                   MJonesMcKeown@perkinscoie.com
 6                                                 Oliver M. Gold, Bar No. 279033
                                                   OGold@perkinscoie.com
 7
                                                Attorneys for Petitioner
 8                                              Lendlease (US) Construction Inc.
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                 VERIFIED PETITION TO CONFIRM ARBITRATION AWARD (9 U.S.C. § 9)
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  1         VERIFICATION OF LENDLEASE (US) CONSTRUCTION INC.
  2
            I, Joe Wathen, declare as follows:
  3
            I currently the Principal in Charge of the Los Angeles Construction Business
  4
      of Claimant Lendlease (US) Construction Inc. (“Lendlease”), petitioner in this
  5
      proceeding, and am the Project Executive of the Oceanwide Project. I am
  6
      authorized to make this verification on behalf of Lendlease; I have read this
  7
      Verified Petition to Confirm Arbitration Award and I am familiar with its contents
  8
      and that the matters and things contained in it are true based on my own knowledge.
  9
            I declare under penalty of perjury under the laws of the State of California
 10
      and the United States of America that the foregoing is true and correct
 11
            Executed in Glendale, California on November 24, 2020.
 12
 13
 14
                                                        _______________________________
 15
                                                                  Joe Wathen
 16
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                   VERIFIED PETITION TO CONFIRM ARBITRATION AWARD (9 U.S.C. § 9)
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                        EXHIBIT 1




                                                                    EXHIBIT 1
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 1
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 5
                      AMERICAN ARBITRATION ASSOCIATION
 6
 7                    FAST TRACK CONSTRUCTION DISPUTES
 8
 9   LENDLEASE (US) CONSTRUCTION          AAA Case No. 01-20-0015-2299
     INC.,
10                   Claimant,
11         v.
                                          FINAL ARBITRATION AWARD
12   CHINA OCEANWIDE HOLDINGS
13   LIMITED,

14                   Respondent.

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                             FINAL ARBITRATION AWARD
                                Case No. 01-20-0015-2299
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 1          This Arbitration is administered by the American Arbitration Association (AAA)
 2   pursuant to its Construction Industry Fast Track Arbitration Rules, as modified by the
 3   terms of the Parent Company Guarantee dated March 5, 2020 between Claimant
 4   Lendlease (US) Construction Inc. (“Lendlease”) and Respondent China Oceanwide
 5   Holdings Limited (“Oceanwide”) (the “Parent Company Guarantee”), and the substantive
 6   law of the State of California. The Arbitrator designated by AAA is John Paige Carpenter.
 7   The Arbitration was conducted through the submission of written evidence and argument
 8   between October 13, 2020, when Lendlease’s demand and accompanying declarations
 9   were filed (collectively, the “Demand”), and November 3, 2020, when all evidence was
10   deemed submitted. Lendlease appeared through Meredith Jones-McKeown of Perkins
11   Coie LLP, and Oceanwide appeared through John Foust of Ralls Gruber & Niece. No
12   witnesses were called. The parties rested after confirming that their presentation of
13   evidence was complete and having had a full and fair opportunity to present their cases
14   and evidence in support thereof. An Interim Award was issued on November 13, 2020.
15          Pursuant to the terms of the Parent Company Guarantee and confirmed by the
16   Arbitrator’s October 30, 2020 Ruling on Lendlease’s Motion to Confirm Limited Scope of
17   Arbitrator’s Jurisdiction and Seek Issuance of Award without Further Hearing, the sole
18   issue to be determined by the Arbitrator in this fast track arbitration, and the sole issue
19   determined herein, is whether payment of the Funding Schedule Payments as defined in
20   the Parent Company Guarantee was made in accordance with the Parent Company
21   Guarantee. In issuing this Award, the Arbitrator carefully considered the written
22   testimony of declarants, the exhibits offered and admitted, and the parties’ written
23   submissions, even though such evidence may not be specifically referred to in this Award.
24          By the Interim Award, the merits of the case are decided except that the Arbitrator
25   retained jurisdiction to hear and rule upon Lendlease’s submission of its application for
26   attorneys’ fees and costs, and have incorporated this Interim Award into a Final Award.
27   This Final Award is in full resolution of all claims submitted in this arbitration. All claims
28   not expressly granted herein are hereby denied for purposes of this limited arbitration.
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                                   FINAL ARBITRATION AWARD
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 1   Nothing herein shall affect the parties’ contentions or claims respecting future arbitrations
 2   or other proceedings among Lendlease, Oceanwide, or Oceanwide Plaza LLC (“OW-
 3   California”) except as specifically referenced herein.
 4   I.     PROCEDURAL HISTORY AND PRIOR ORDERS
 5          This Arbitration was commenced by Lendlease’s demand for arbitration and
 6   accompanying declarations (collectively, the “Demand”) which was filed on October 13,
 7   2020. In this Arbitration, Lendlease sought the immediate enforcement of Oceanwide’s
 8   obligation to make $54,440,000 in in three installment payments pursuant to a schedule
 9   attached to the Parent Company Guarantee between April and June 2020 (the “Funding
10   Schedule Payments”). Following the execution of the Parent Company Guarantee,
11   Oceanwide was required to make three (3) Funding Schedule Payments, each for a certain
12   amount and by a date certain. Lendlease initiated this Arbitration after Oceanwide failed
13   to make these payments as described herein. Concurrent with this Demand, Claimant
14   Lendlease submitted evidence supporting its claims through the declarations of Paul
15   Walsh, Joe Wathen, and Oliver Gold, and various documents attached thereto.
16          On October 26, 2020, Oceanwide filed its Answer to Claimant’s Demand for
17   Arbitration of Breach of Guarantee (“Answer”). In that pleading, Oceanwide stated “[f]or
18   the purposes of this Arbitration, [Oceanwide] does not dispute the factual allegations
19   contained in Paragraphs 1 through 58 of Lendlease’s Demand.” (Answer, at 4).
20   Accordingly, the prima facie elements of Lendlease’s Demand are wholly undisputed and
21   supported by competent evidence. Oceanwide raised two requests of the Arbitrator: first,
22   it sought an accounting of the Funding Schedule Payments to determine “how much, on a
23   subcontractor-by-subcontractor basis, remains due and owing.” (Id. at para. 3d.) Second,
24   Oceanwide argued that Lendlease “should be required to establish that it maintained a
25   valid construction license at all times during the Project.” (Id. heading I.B.) Lendlease
26   contended these issues were outside the jurisdiction of the arbitrator.
27          On October 28, 2020, Lendlease filed a Motion to Confirm the Limited Scope of
28   the Arbitrator’s Jurisdiction and to seek issuance of an arbitration award without a further
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                                   FINAL ARBITRATION AWARD
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 1   hearing. In support of that motion, Lendlease submitted the Supplemental Declaration of
 2   Joe Wathen on the topic of licensure. Oceanwide filed its opposition to that motion on
 3   October 29, 2020. Lendlease filed a reply via email on October 30, 2020. The Arbitrator
 4   found that the issues raised by Oceanwide concerning subcontractor payment and
 5   contractor licensing were construction-related issues and outside the jurisdiction of the
 6   Arbitrator under the terms of the PCG, and therefore not subject to this Arbitration.
 7          Lendlease’s motion was granted on October 30, 2020. Accordingly, the scope of
 8   the Arbitration hearing was limited to the sole issue of whether Oceanwide made the
 9   Funding Schedule Payments in accordance with the Parent Company Guarantee. The
10   Arbitrator’s Decision on Lendlease’s Motion re: Limited Scope of Arbitrator’s
11   Jurisdiction (dated October 30, 2020) is attached hereto as Exhibit A and incorporated
12   herein by this reference.
13          On its sole claim for breach of the Parent Company Guarantee, Lendlease seeks the
14   unpaid amount of      $38,440,000, plus attorneys’ fees and costs in an amount to be
15   determined post-award, and pre-judgment and post-judgment interest at the statutory rate
16   of 10 percent per annum.
17   II.    SUMMARY OF THE EVIDENCE
18          A.     On March 5, 2020, Oceanwide and Lendlease executed the Parent
                   Company Guarantee. Walsh Decl., Ex. A (the “PCG”). The Evidence
19                 on Lendlease’s Claim for Breach of the Parent Company Guarantee by
                   Oceanwide
20
            Lendlease’s claim and supporting evidence was submitted by way of its Demand
21
     and supporting Declarations of Paul Walsh, Joe Wathen, and Oliver Gold, all of which
22
     were submitted to AAA on October 12, 2020, and the Supplemental Declaration of Joe
23
     Wathen, submitted on October 28, 2020.
24
                   1.     Terms of the Parent Company Guarantee.
25
            Under the terms of the Parent Company Guarantee, Oceanwide “absolutely,
26
     unconditionally and irrevocably guarantee[d] to [Lendlease], as a primary obligor and not
27
     merely as a surety, the prompt and complete payment when due of each and every
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                                  FINAL ARBITRATION AWARD
                                     Case No. 01-20-0015-2299
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 1   Funding Schedule Payment, without setoff, counterclaim, or defense of any nature
 2   whatsoever.” PCG ¶ 2(b). Oceanwide further “acknowledge[d] its obligations to make
 3   such Funding Schedule Payments and acknowledge[d] that it is not entitled to any further
 4   notice or cure periods with respect to any such payments.” Id.
 5         With respect to the Funding Schedule Payments, Oceanwide promised to pay:
 6                a.     $10,000,000 on April 15, 2020;
 7                b.     $20,000,000 on May 15, 2020; and
 8                c.     $24,440,000 on June 15, 2020 (PCG, Ex. A).
 9         Oceanwide further promised that the Parent Company Guarantee would “remain[]
10   in full force and effect” and would be “binding upon [Oceanwide]” until the Funding
11   Schedule Payments have been paid in full. PCG ¶ 6(c). The parties agreed that “[e]xcept
12   by written agreement by [Oceanwide] and [Lendlease], the obligations of the [Oceanwide]
13   under this Guarantee will remain in effect and will not be diminished or impaired,
14   notwithstanding: (a) any withdrawal of any demand by [Lendlease] for payment or
15   performance by [Oceanwide] of payments due under the Funding Schedule; (b) any
16   amendment, extension, modification or waiver of any Obligations,” including the Funding
17   Schedule Payments; or (c) “any compromise by [Lendlease] of any Obligations,”
18   including the Funding Schedule Payments. PCG ¶ 5(a)-(c).
19         The parties also agreed that “[n]o provision of this Guarantee may be waived,
20   amended, supplemented or otherwise modified, except by written instrument signed by
21   [Oceanwide] and [Lendlease].” PCG ¶ 11(a). At no time did Lendlease and Oceanwide
22   agree to amend the terms of the Parent Company Guarantee or the Funding Payment
23   Schedule in accordance with those terms. See Walsh Decl. ¶ 13.        Demand at ¶ 30
24   Oceanwide did not dispute the factual allegations contained within Paragraphs 1 through
25   58 of Lendlease’s Demand”, while purportedly claiming that “nothing in this Answer—
26   including but not limited to the foregoing sentence—is intended to be an admission or a
27   concession of any allegation set forth in the Demand.” Answer at 4.
28
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 1                2.     Prepayments.
 2         Pursuant to its separate promise to prepay monthly operating costs, OW-California

 3   made payments to Lendlease totaling $ 3,952,404.1 It is undisputed that none of these

 4   prepayments offset or count towards the Funding Schedule Payments under the Parent

 5   Company Guarantee. See PCG, ¶ 2(b) (defining Funding Schedule Payments); see also

 6   Walsh Decl., Exs. B & C.

 7                3.     Oceanwide failed to timely make the first Funding Schedule
                         Payment.
 8
           On April 15, 2020, the first Funding Schedule Payment in the amount of $10
 9
     million was due. PCG, Ex. A. On April 14, 2020, OW-California wired $6 million to
10
     Lendlease. Walsh Decl., ¶ 8 & Ex. E. It is undisputed that this $6 million was intended to
11
     partially satisfy Oceanwide’s April 15th Funding Schedule Payment obligation. Id. ¶ 8.
12
           On May 8, 2020, OW-California wired $4 million to Lendlease. This payment was
13
     intended to satisfy the remainder of Oceanwide’s April 15th Funding Schedule Payment
14
     obligation. Id. ¶ 14, Ex. G. The May 8, 2020 payment was untimely. Demand at ¶¶ 21-
15
     31. Oceanwide “does not dispute the factual allegations contained in Paragraphs 1 through
16
     58 of Lendlease’s Demand”. Answer at 4.
17
                  4.     Oceanwide fails to make the second Funding Schedule Payment.
18
           On May 15, 2020, the second Funding Schedule Payment in the amount of $20
19
     million was due. PCG, Ex. A. Oceanwide failed to make the second Funding Schedule
20
     Payment on time and in full. Walsh Decl. ¶ 19.
21
           On May 29, 2020, OW-California wired $6,784,388 to Lendlease. Id. ¶ 20 & Ex. 1.
22
     It is undisputed that $6 million of this amount was intended to partially satisfy
23
     Oceanwide’s May 15th Funding Schedule Obligation. Walsh Decl., ¶ 20. The balance of
24
     the payment was made to prepay monthly operating costs, and did not count toward the
25
26         1
             On March 20, 2020, OW-California paid $1,215,000. Wathen Decl., ¶ 2(a) & Ex.
     1. On May 29, 2020, OW-California paid $754,388. Walsh Decl. ¶ 20 & Ex. 1. On July
27   2, 2020, OW-California paid $849,895. Wathen Decl. ¶ 2(b) & Ex. 2. On August 11,
     2020, OW-California paid $1,030,372. Id. ¶ 2(c) & Ex. 1. On August 14, 2020, OW-
28   California paid $102,749. Id. ¶ 2(d) & Ex. 1.
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 1   Funding Schedule Payments. It is undisputed that Oceanwide did not make any additional
 2   payments to fulfill the May 15 Funding Schedule Payment. Walsh Decl., ¶ 20. Demand
 3   at ¶¶ 32-40. Oceanwide “does not dispute the factual allegations contained in Paragraphs
 4   1 through 58 of Lendlease’s Demand”. Answer at 4.
 5                5.     Oceanwide fails to make the third Payment.
 6         On June 15, 2020, the third Funding Schedule Payment of $24,440,000 came due.
 7   PCG, Ex. A. Oceanwide failed to make that payment. Walsh Decl. ¶ 22. Demand at ¶ 41
 8   Oceanwide “does not dispute the factual allegations contained in Paragraphs 1 through 58
 9   of Lendlease’s Demand”. Answer at 4.      On July 14, 2020, Han Xiaosheng, Chairman,
10   China Oceanwide Holdings Limited conceded that Oceanwide was in “arrears” on its
11   payments. Walsh Decl., ¶ 24 & Ex. J. Oceanwide did not make two additional payments
12   of $5 million it had promised to make in correspondence between the parties, Id. ¶¶ 21,
13   23, 26. Oceanwide submitted no evidence of any further payments being made. Demand
14   at ¶¶ 45-46. Oceanwide “does not dispute the factual allegations contained in Paragraphs
15   1 through 58 of Lendlease’s Demand”. Answer at 4.
16         Oceanwide is therefore entitled to credit for only $16 million in payments towards
17   the Funding Schedule Obligations. Oceanwide currently owes $38,440,000 under the
18   terms of the Parent Company Guarantee’s Funding Schedule. Walsh Decl., ¶¶ 8, 14, 20
19   and PCG, Ex. A. Demand at ¶¶ 45-46.          Oceanwide “does not dispute the factual
20   allegations contained in Paragraphs 1 through 58 of Lendlease’s Demand”. Answer at 4.
21   No “written agreement of [Oceanwide] and [Lendlease]” authorized Oceanwide’s
22   departure from the Funding Schedule or otherwise excused it from making the Funding
23   Schedule Payments on time and in full. PCG ¶¶ 5, 11(a).
24         On September 22, 2020, pursuant to paragraphs 10 and 13 of the Parent Company
25   Guarantee, Lendlease sent Oceanwide notice of non-payment and that it would commence
26   the instant expedited arbitration proceedings before the American Arbitration Association
27   in Los Angeles, California. Walsh Decl. ¶ 28 & Ex. K. Demand at ¶¶ 48-49. Oceanwide
28   “does not dispute the factual allegations contained in Paragraphs 1 through 58 of
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 1   Lendlease’s Demand”. Answer at 4
 2          As discussed above, on October 26, 2020, Oceanwide filed its Answer to
 3   Lendlease’s Demand, and stated, “[f]or the purposes of this Arbitration, [Oceanwide] does
 4   not dispute the factual allegations contained in Paragraphs 1 through 58 of Lendlease’s
 5   Demand,” while purportedly claiming that “nothing in this Answer—including but not
 6   limited to the foregoing sentence—is intended to be an admission or a concession of any
 7   allegation set forth in the Demand.” (Answer, at 4). On November 2, 2020, Oceanwide
 8   stated that it “do[es] not have any further evidence to submit in this arbitration on the
 9   issue of ‘whether payment of the Funding Schedule Payments was made in accordance
10   with the Guarantee.’ (Email of J. Foust dated, Nov. 2, 2020).
11   III.   FINDINGS, CONCLUSIONS, AND FINAL AWARD.
12          To prove its claim for Oceanwide’s breach of the Parent Company Guarantee,
13   Lendlease has the burden of establishing by a preponderance of the evidence the
14   following elements: (1) a guarantee contract; (2) default by the borrower; (3) notice to the
15   guarantor of the default; and (4) nonpayment of the debt by the guarantor. See Gray1
16   CPB, LLC v. Kolokotronis, 202 Cal. App. 4th 480, 486 (2011); Torrey Pines Bank v.
17   Superior Court, 216 Cal. App. 3d 813, 819 (1989).
18          The Arbitrator finds and concludes that Lendlease has satisfied its burden of proof
19   on each element on its claim for Oceanwide’s breach of the Parent Company Guarantee.
20   Specifically, Lendlease has demonstrated with sufficient evidence, which Oceanwide does
21   not dispute, that Lendlease and Oceanwide entered into the Parent Company Guarantee
22   and that Lendlease has fully performed all of the terms and conditions required on its part
23   to be performed under the Parent Company Guarantee. Lendlease further proved that
24   Oceanwide breached the Parent Company Guarantee by failing to adhere to the agreed
25   upon Funding Schedule by: (1) failing to pay its $10 million April 15, 2020 Funding
26   Schedule Payment on time; (2) failing to pay its $20 million May 15, 2020 Funding
27   Schedule Payment in full and on time; and (3) failing to pay its $24,440,000 million June
28   15, 2020 Funding Schedule Payment in full and on time. The exhibits to the Walsh
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 1   Declaration further confirm that Lendlease provided notice to Oceanwide of its defaults
 2   under the Parent Company Guarantee, although the Parent Company Guarantee itself does
 3   not require such notice. And it is undisputed that as a direct and proximate result of
 4   Oceanwide’s breach of the Parent Company Guarantee, Lendlease is owed $38,440,000.
 5          On that amount, Lendlease is entitled to pre-and post-judgment interest thereon at
 6   the statutory rate.
 7          California Civil Code section 3289 provides:
 8          (a) Any legal rate of interest stipulated by a contract remains chargeable after a
 9                breach thereof, as before, until the contract is superseded by a verdict or other
10                new obligation.
11          (b) If a contract entered into after January 1, 1986, does not stipulate a legal rate of
12                interest, the obligation shall bear interest at a rate of 10 percent per annum
13                after a breach.
14          The Parent Company Guarantee does not stipulate a rate of interest, and interest
15   therefore accrues at 10% per annum on the unpaid amounts.
16          Oceanwide argues that the pre-judgment interest rate, citing Civil Code section
17   3289 (a) and Granite Construction Co. v. American Motorists Ins. Co., 29 Cal.App.4th
18   658 (1994) should be 3% per annum, which Oceanwide represents is the rate specified in
19   the construction agreement between Lendlease and OW-California. (Email of J. Foust,
20   Nov. 6, 2020). It is uncontroverted that no provision of the PCG may be “supplemented or
21   otherwise modified, except by written instrument signed by Guarantor and Guaranteed
22   Party.” PCG ¶ 11(a). The construction agreement is not at issue in this Arbitration, nor
23   can any of its terms supplement or otherwise amend the PCG. It is also uncontroverted
24   that the PCG does not provide a rate of interest. Where a contract is silent on the rate of
25   interest chargeable, the applicable rate of prejudgment interest is 10%. Copart, Inc. v
26   Sparta Consulting, Inc.        (2018) 339 F. Supp. 3d 959. The decision in Granite
27   Construction Co. involved a payment bond surety and a subcontractor and the applicable
28   interest rate under the bond which was silent. The court’s decision to apply the
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 1   construction contract interest rate to the bond was based in part on the court finding that
 2   the purpose of the bond was to provide recourse to those under the construction contract.
 3   Here there is no such connection.
 4          The Parent Company Guarantee also provides for an award to Lendlease of its
 5   “reasonable expenses (including, without limitation, reasonable fees and disbursements of
 6   counsel)” paid or incurred by Lendlease “in enforcing any of its rights under this
 7   Guarantee.” PCG ¶ 2(c).
 8          Based on the foregoing, I John Paige Carpenter, THE UNDERSIGNED
 9   ARBITRATOR, having been designated in accordance with the arbitration agreement
10   entered into between the above-named parties, and having been duly sworn, and having
11   duly heard the proofs and allegations of the parties, make the following Final Award:
12          (1)     Claimant Lendlease’s claim against Oceanwide for breach of the Parent
13   Company Guarantee is GRANTED, and Lendlease is entitled to judgment in its favor.
14          (2)     Lendlease is entitled to an award of the full amount of unpaid balance of the
15   Funding Schedule in the sum is $38,440,000. Interest has accrued at the statutory rate in
16   the amount of $1,746,849.81 through November 12, 2020. Interest continues to accrue
17   after that date at the rate of $10,351.51 per day.
18          (3) Lendlease is entitled to an Award of attorney’s fees and costs in the amount of
19   $141,412.16.
20          (4) The administrative fees of the American Arbitration Association totaling
21   $12,844.00 and the compensation and expenses of the arbitrator totaling $15,762.50 shall
22   be borne by Respondent Oceanwide. Therefore, Oceanwide shall reimburse Lendlease
23   the sum of $20,725.25, representing that portion of said fees and expenses in excess of the
24   apportioned costs previously incurred by Lendlease.
25
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                                                                                                             Michael Powell
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November 24, 2020

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Case Number: 01-20-0015-2299

Lendlease (US) Construction
-vs-
China Oceanwide Holdings Limited
c/o Oceanwide Plaza LLC

Dear Parties:

By direction of the arbitrator, please find enclosed the duly executed Final Award in the above matter. Please remember there
is to be no direct communication with the arbitrator. All communication shall be directed to the AAA.

A financial reconciliation has been conducted and each party will receive a separate statement reflecting the amounts due for
the arbitrator’s incurred compensation. Payment is due upon receipt of that statement.

Note that the financial reconciliation reflects costs as they were incurred during the course of the proceeding. Any
apportionment of these costs by the arbitrator, pursuant to the Rules, will be addressed in the award and will be stated as one
party’s obligation to reimburse the other party for costs incurred. Any outstanding balances the parties may have with the
American Arbitration Association (the AAA) for the costs incurred during the arbitration proceedings remain due and
payable to the AAA even after the final award is issued, and regardless of the arbitrator’s apportionment of these costs
between the parties in the award.

Pursuant to the AAA’s current policy, in the normal course of our administration, the AAA may maintain certain electronic
case documents in our electronic records system. Such electronic documents may not constitute a complete case file. Other
than certain types of electronic case documents that the AAA maintains indefinitely, electronic case documents will be
destroyed 18 months after the date of this letter.




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We appreciate the opportunity to assist you in resolving your dispute. As always, please do not hesitate to contact me if you
have any questions.

Sincerely,

/s/
Michael R Powell
Vice President
Direct Dial: (213)362-1900
Email: MichaelPowell@adr.org
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Enclosure

cc:     Oliver M. Gold, Esq.
        Ken W. Choi, Esq.
        Daniel A. Cantor
        John Paige Carpenter, Esq.
mp/bs




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